          Case 1:13-cv-00654-RP Document 33 Filed 10/10/13 Page 1 of 6


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                IN THE UNITED STATES DISTRICT COURT



JOHN PAUL DEJORIA
                 FOR THE WESTERN DISTRICT OF TE)iJ3 OCT
                          AUSTIN DIVISION

                                                  CIVIL   ACTIOQ
                                                   1:13-cv-654-JRN
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                                                                                               TEXAS



                      Plaintiff/Counterclaim
                      Defendant
   V.


MAGHREB PETROLEUM
EXPLORATION S.A. and MIDEAST
FUND FOR MOROCCO LIMITED
                      Defendants/Counterclaim
                      Plaintiffs



                                         ORDER

        Before the Court is Counterclaim Defendant's ("Dejoria") Motion to Abate or

Dismiss the above styled action. (Dkt. No. 23). In the motion, Dejoria asks this Court to

dismiss the entire action due to what Dejoria argues is MPE and MFM's ("MPE/MFM")

failure to join a necessary party as required by FRCP 19(a). Given that Dejoria's motion

runs less than two pages and does not contain a single citation to a case or piece of

evidence, it will probably not come as a surprise to Dejoria that the Court denies his

motion.

                                    Standard of Review
        Federal Rule of Civil Procedure 12(b)(7) permits dismissal for failure to join an

indispensable party under Federal Rule of Civil Procedure 19. HS Res., Inc.   v.   Wingate, 327

F.3d 432, 438 (5th Cir.2003). It "allows for both the joinder of parties who should be

present in order to have a 'fair and complete resolution of the dispute,' and for the

dismissal of lawsuits 'that should not proceed in the absence of parties that cannot be
               Case 1:13-cv-00654-RP Document 33 Filed 10/10/13 Page 2 of 6




joined,'   "   Dore Energy Corp. v. Prospective mv. & Trading Co. Ltd., 570 F.3d 219,      230-3 1 (5th
Cir.2009), citing HS Res., Inc.      v.   Wingate, 327 F.3d at 438. Rule 19 sets out a two-step

inquiry: whether a party should be added under the requirements of Rule l9(a) and

whether litigation can properly proceed without the absent party under the requirements

of Rule 19(b). August      v. Boyd   Gaming Corp., 135 Fed. Appx. 731, 732 (5th Cir. June 22,

2005).

         A "Rule 12(b)(7) motion will not be granted because of a vague possibility that

persons who are not parties may have an interest in the action. In general, dismissal                   is

warranted only when the defect is serious and cannot be cured." 5A Charles Alan Wright,

et al., Federal Practice      and Procedure § 1359 (2d ed.1990). The decision whether to

dismiss a case for failure to join an indispensable party first requires the court, in a highly

practical, "fact-based endeavor," to determine whether the party meets the requirements of

Federal Rule of Civil Procedure l9(a). Hood           ex rel. Mississippi v. City of Memphis, Tenn.,   570

F.3d 625, 628 (5th Cir.2009). Under Rule l9(a)(l), the party must be joined if it is subject

to process, its joinder does not deprive the Court of subject matter jurisdiction, and if

    "(A) in the person's absence, the court cannot accord complete relief among existing

 parties; or (B) that person claims an interest relating to the subject of the action and is so

  situated that disposing of the action in the person's absence may: (i) as a practical matter

  impair or impede the person's ability to protect the interest; or (ii) leave an existing party

    subject to a substantial risk of incurring double, multiple, or otherwise inconsistent

                     obligations because of the interest." Hood, 570 R3d at 628.

         If joinder would destroy the jurisdiction of the court, the court must next decide

under Rule 19(b) if the absent party         is   indispensable. Hood   ex Tel. Miss. v. City of Memphis,

Tenn., 570 F.3d 625,      628-29 (5th Cir.2009). Rule 19(b) sets out the factors for the court to
            Case 1:13-cv-00654-RP Document 33 Filed 10/10/13 Page 3 of 6




consider in determining if it is feasible to join that necessary party:

(1) the extent to which a judgment rendered in the person's absence might prejudice that

person or the existing parties;

(2) the extent to which any prejudice could be lessened or avoided by:


         (A) protective provisions in the judgment;


         (B) shaping   the relief; or

         (C) other measures;


(3)   whether a judgment rendered in the person's absence would be adequate; and

(4) whether the plaintiff would have an adequate remedy if the action were dismissed for

nonjoinder.    Id., quoting Rule 19(b).


         If the absent party should be joined under Rule 19(a), but suit cannot proceed

without that party under 19(b) because it       is   indispensable, the case must be dismissed.

August, 135 Fed. Appx. at 732. "The        threat of multiple litigation will not make   a   party

indispensable, but the threat of inconsistent obligations will." Cornhill Insurance PLC          v.


\/aLsamis, Inc., 106   F.3d 80, 84 (5th Cir.), cert denied, 522 U .S. 518 (1997). If the party   is

not indispensable, the case can proceed without joining an additional party or parties.
Hood, 570 F.3d at 629.


         The proper inquiry in weighing these factors         is   "whether, in equity and good

conscience, the action should proceed among the existing parties or should be dismissed."

Id.   at 633, quoting Rule 19(b).

         For the joinder analysis, the Court takes the allegations in the complaint as true.

                                                 3
               Case 1:13-cv-00654-RP Document 33 Filed 10/10/13 Page 4 of 6




Abbott v. BP Exploration and Production Inc., 781 F.Supp.2d 453, 460 (S.D.Tex.2011); Bonilla
                                                                                    *3
v.   America's Servicing Co., Civ. A. No.   H-11-1974, 2011 WL 3882280,                  (S.D.Tex. Sept.2,

2011). If evidence or additional briefing is needed to permit the court to make an

informed decision, but is not presented, the court should not grant a motion to dismiss

under Rule 12(b)(7). Turner      v. Pavlicek,   2011 WL 4458757, *8_9 (S.D.Tex. Sept.22, 2011)

("Without evidence in the record, this court cannot guess as to whether the parties may be
required parties under Rule 19(b)."), citing Pickle     v.   Int'l Oilfield Divers, Inc., 791 F.2d 1237,

1242 (5th Cir.1986), cert. denied, 479 U.S. 1059, 107 S.Ct. 939, 93 L.Ed.2d 989 (1987).

For the movant to show the nature of the unprotected interests of the absent parties and

the possibility of injury to them or that the parties before the court will be disadvantaged

by the absence of the nonjoined parties, the movant may need to submit "affidavits of

persons having knowledge of these interests as well as other relevant extra-pleading

evidence. The district judge is not limited to the pleadings." 5A Charles Alan Wright,

Federal Practice § 1359. See Power Equities, Inc. v. Atlas Telecom Services-LISA, Inc., Civ, A.
                                                         *4
No.      3:06-CV-1892-G, 2007 WL 43843,                           (N.D.Tex. Jan.5        2007)   (denying

movant/defendant's Rule 12(b)(7) motion because defendant failed to name any person or
entity that should be joined to the action and "defendant has provided no evidence that

these unnamed parties could, or could not, be joined in the suit and thus has provided no

evidence upon which the court can conduct the required Rule 19(b) analysis").

         The party seeking the joinder bears the initial burden of demonstrating that the

person    is   necessary. Hood, 570 F.3d at 628; Carder      v.   Continental Airlines, Inc., No.   H-09-
                                                                         *4
3 173,   2009 WL 4342477, *4 (S.D. Tex. No. H-09-3 173, 2009 WL 4342477,    (S.D.Tex.

Nov.30, 2009) (The movant bears the burden of producing evidence which shows the

nature of the absent party's interest and that protection of that interest will be impaired or


                                                    4
           Case 1:13-cv-00654-RP Document 33 Filed 10/10/13 Page 5 of 6




impeded without joinder of that party). After "an initial appraisal of the facts indicates

that a possibly necessary party    is   absent, the burden of disputing this initial appraisal falls

on the party who opposes joinder.'        "   Hood, 570 F.3d at 628, citing Pulitzer-Polster v, Pulitzer,

784 F.2d 1305, 1309 (5th Cir,2006),

                                                Discussion

        According to Dejoria, "Gustin is a required party to this proceeding because the

effect of his 'collective' putative liability for the Judgement under Moroccan law is

unknown, and must be determined to protect Dejoria from possible inconsistent liability

should MPE and MFM seek to enforce the judgment against Gustin in a separate

proceeding." Dkt, No 23 at 2. Dejoria also suggests that he is concerned about Gustin's

interests because should Dejoria not prevail in this action, the result "could prejudice

Gustin's interest in seeing that the Judgment"             is   not enforced against him. While the
Court   is sure   that Mr. Gustin very much appreciates Dejoria's concern for his interests, "it
has long been the rule that it is not necessary for all joint tortfeasors to be named as

defendants in a single lawsuit." Temple v. Synthes Corp., 498 U.S. 5, 7(1990).

                  Dejoria asks the Court to take his word for the fact that the concept of

"collective" liability (which MPE/MFE actually argue can be translated as joint and

several liability) is different in legally significant ways from joint and several liability, yet

Dejoria does not cite to any case law or evidence to support that claim, MPE/MFM, on

the other hand, points to the statements of a Moroccan law expert in which the expert

asserts that the "clear" effect of the Moroccan court's judgment in this case was to hold

Dejoria and Gustin joint and severally liable for the damages.                 See   Dkt. No. 32 at 5.

Dejoria's vague suggestion that he disagrees with the testimony cited by MPE/MFEs

                                                      5
              Case 1:13-cv-00654-RP Document 33 Filed 10/10/13 Page 6 of 6



expert   is   not enough, especially given that Dejoria   is   the party with the burden to carry.

Banque Libanaise Pour Le Commerce v. Khreich, 915 F.2d 1000, 1006 (5th Cir. 1990) ("If the

Bank wanted to rely on Abu Dhabi law, it was obligated to present to the district court clear

proof of the relevant Abu Dhabi legal principles"). In light of the fact that Dejoria offers no

testimony of experts disputing MPE/MFM's supported understanding of Moroccan law, the

Court finds that Dejoria has not carried his burden.

         The Court likewise rejects Dejoria's argumentagain, sans even one citation to anything

that the Court should dismiss this case because its outcome could prejudice Gustin's interest in

seeing the judgment is not enforced against him. If Dejoria is so worried about Mr. Gustin's

interests, Dejoria may join Gustin as a party pursuant to FRCP 14(b). Whether or not Dejoria

chooses to utilize FRCP 14(b), however, is irrelevant to this Court's analysis since the Supreme

Court has made clear that Dejoria and Gustin need not be sued at the same time, Temple, 498

U.S. at 7, even if Dejoria could ultimately find himself having to pay most of the an adverse

judgment on account of Gustin's comparatively shallow pockets. McDermott, Inc.     v.   AmClyde, 511

U.S. 202, 220-221 (1994).

         For all of these reasons, the Court holds that Gustin is not a required party and

therefore, DENIES Dejoria's motion.


      SIGNED this 10th day of October, 2013.




                                                              NOWLIN
                                                       JAMJES R.
                                                       UNITED STATES DISTRICT JUDGE
